 Case: 1:17-md-02804-DAP Doc #: 1914-2 Filed: 07/19/19 1 of 4. PageID #: 89961




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 IN RE NATIONAL PRESCRIPTION                        MDL No. 2804
 OPIATE LITIGATION                                  Case No. 17-md-2804
                                                    Judge Dan Aaron Polster

 This document relates to:
 The County of Cuyahoga v. Purdue
 Pharma L.P., et al., Case No. 17-OP-45004

 The County of Summit, Ohio, et al. v.
 Purdue Pharma L.P. et al.,
 Case No. 18-OP-45090


  DECLARATION OF JENNIFER D. CARDELUS IN SUPPORT OF DEFENDANTS’
      MOTION TO EXCLUDE EXPERT TESTIMONY OF LACEY KELLER

       I, Jennifer D. Cardelus, declare as follows:

       1.     I am an attorney at O’Melveny & Myers, counsel for O’Melveny & Myers LLP and

counsel of record for Defendants Johnson & Johnson, Janssen Pharmaceuticals, Inc., Janssen

Pharmaceutica,     Inc.   n/k/a   Janssen   Pharmaceuticals,   Inc.,   and   Ortho-McNeil-Janssen

Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc. (collectively “Janssen”) in the above

captioned case.

       2.     I submit this declaration in support of Defendants’ Motion to Exclude Expert

Testimony of Lacey Keller.

       3.     Attached as Exhibit 1 is a true and correct copy of excerpts from the deposition of

Lacey Keller, taken on June 13, 2019, in New York, New York.

       4.     Attached as Exhibit 2 is a true and correct copy of the April 15, 2019 Expert Report

of Lacey Keller.

       5.     Attached as Exhibit 3 is a true and correct copy of the April 15, 2019 Expert Report

of James Rafalski.
 Case: 1:17-md-02804-DAP Doc #: 1914-2 Filed: 07/19/19 2 of 4. PageID #: 89962




       6.     Attached as Exhibit 4 is a true and correct copy of excerpts from the deposition of

James Rafalski taken on May 13, 2019, in Detroit, Michigan.

       7.     Attached as Exhibit 5 is a true and correct copy of excerpts from the deposition of

James Rafalski taken on May 14, 2019, in Detroit, Michigan.

       8.     Attached as Exhibit 6 is a true and correct copy of excerpts from the deposition of

Thomas Prevoznik taken on April 17, 2019, in Washington, D.C.

       9.     Attached as Exhibit 7 is a true and correct copy of excerpts from the deposition of

Thomas Prevoznik taken on May 17, 2019, in Washington, D.C.

       10.    Attached as Exhibit 8 is a true and correct copy of excerpts from the deposition of

Joseph Rannazzisi taken on April 26, 2019, in Washington, D.C.

       11.    Attached as Exhibit 9 is a true and correct copy of excerpts from the deposition of

Joseph Rannazzisi taken on May 15, 2019, in Washington, D.C.

       12.    Attached as Exhibit 10 is a true and correct copy of excerpts from the deposition of

Kyle Wright taken on February 28, 2019, in Washington, D.C.

       13.    Attached as Exhibit 11 is a true and correct copy of the May 31, 2019 Expert Report

of Larry Holifield.

       14.    Attached as Exhibit 12 is a true and correct copy of the December 14, 2018 Letter

from Joshua M. Davis to Peter H. Weinberger, Steven J. Skikos, and Troy A. Rafferty in relation

to the above-captioned case.

       15.    Attached as Exhibit 13 is a true and correct copy of the May 10, 2019 Expert Report

of Edward Buthusiem.




                                               2
 Case: 1:17-md-02804-DAP Doc #: 1914-2 Filed: 07/19/19 3 of 4. PageID #: 89963




        I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct and that this Declaration was executed in Los Angeles, California on June 28,

2019.



                                               /s/ Jennifer D. Cardelus

                                               Jennifer D. Cardelus




                                                 3
 Case: 1:17-md-02804-DAP Doc #: 1914-2 Filed: 07/19/19 4 of 4. PageID #: 89964




                            CERTIFICATE OF SERVICE

      I hereby certify that on June 28, 2019, a copy of the foregoing DECLARATION IN

SUPPORT OF DEFENDANTS’ MOTION TO EXCLUDE EXPERT TESTIMONY OF

LACEY KELLER was served electronically on the parties.


 Dated: June 28, 2019                     /s/ Jennifer D. Cardelus
                                          Jennifer D. Cardelus
                                          O’MELVENY & MYERS LLP
                                          400 S. Hope Street
                                          Los Angeles, CA 90071
                                          Telephone: (213) 430-6000
                                          Facsimile: (213) 430-6407
                                          jcardelus@omm.com

                                          Attorney for Defendants Janssen
                                          Pharmaceuticals, Inc., Johnson &
                                          Johnson, Janssen Pharmaceutica, Inc.
                                          n/k/a Janssen Pharmaceuticals, Inc., and
                                          Ortho-McNeil-Janssen Pharmaceuticals,
                                          Inc. n/k/a Janssen Pharmaceuticals, Inc.




                                           4
